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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF ARKANSAS
                         LITTLE ROCK DIVISION

TERESA BLOODMAN,                                    )
         Plaintiff,                                 )
                                                     ) CASE NO. 4:18-CV-00282-KGB
                                                     )
      vs.                                            )
                                                    )
ARKANSAS SUPREME COURT                              )
COMMITTEE ON PROFESSIONAL                           )
CONDUCT, et al,                                     )
            Defendants                          )
      ______________________________________________________________________

             PLAINTIFF’S MOTION FOR EXTENSION OF
  TIME TO SERVE SUMMONS AND COMPLAINT ON DEFENDANTS
          AND MEMORANDUM IN SUPPORT THEREOF

      Pursuant to Rule 4(m) of the Federal Rules of Civil Procedure, Plaintiff does

hereby move this Court for entry of an Order extending the time to serve summons

and complaint on defendants for an additional sixty (60) days and states:

   1. On April 30, 2018, Plaintiff filed a Complaint in this matter. (Dkt. No. 1).

   2. Plaintiff‘s time to serve the summons and complaint has not yet expired.

   3. Beginning May 11, 2018, Plaintiff has made repeated diligent efforts to

serve defendants.

   4. On May 11, 2018, a process server served the defendant Ligon at his

residence. (Dkt. No. 6).


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      5. On May 13, 2018, a process server served the defendant Walker at her

residence. (Dkt. No. 10).

      6. That defendant Wood was served.

      7. That Plaintiff attempted service via United States Postal Service by

certified mail restricted delivery. Several defendants had persons other than

themselves sign for the summons and complaint – “agents”.

      8. The defendants have not formally waived service.

      9. In June 2018, a process server attempted to personally serve the

defendant supreme court justices at the Supreme Court, but was denied access to

the judge’s chambers by the building police at the front entrance. Personal service

on defendants was unexecuted. (Dkt. No. 13-18)

      10. On June 2018, personal service on defendant Kemp was unexecuted.

The process server attempted service on defendant Kemp at a home addresses

listed on the internet. (Dkt. No. 17)

      11. The Plaintiff was recently informed by a deputy clerk at the Arkansas

Supreme Court that the court is on break until after Labor Day. Thus, any

additional attempts to serve them at work would definitely be unfruitful until mid

September.

      12. That Plaintiff has made diligent efforts to serve the defendants but




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has not been able to serve all defendants with the summons and complaint. This is

‘good cause” for an extension.

       13. That the Plaintiff is not making this motion for the purpose of delay, but

is in the best interest of justice.

       14. Plaintiff has made an effort to confer with defendants’ counsel in this

action prior to filing this motion but has been unable to do so.

       15. Plaintiff requests an extension of sixty (60) days in which to serve

defendants.

                                      ARGUMENT

THERE IS GOOD CAUSE TO EXTEND THE DEADLINE FOR SERVICE
DUE TO THE DEFENDANT’S DILIGENT BUT UNSUCCESSFUL
EFFORTS AT SERVICE

       Rule 4(m) specifies that a court “must extend the time for service for an

appropriate period” where the plaintiff can show good cause for its inability to

serve a defendant within 90 days. Good cause exists “when some outside factor . .

. rather than inadvertence or negligence, prevented service.” Lepone-Dempsey v.

Carroll Cty. Comm’rs, 476 F.3d 1277, 1281-82 (11th Cir. 2007). Courts have held

that “outside factor[s]” consist of events outside of the plaintiff’s control, including

a “natural catastrophe or evasion of service of process.” Pridemore v. Regis Corp.,

No. 10-605-J-99, 2011 WL 9120, at *2 (M.D. Fla. Jan. 3, 2011); accord Boston v.

Potter, 185 Fed. Appx. 853, 854 (11th Cir. 2006).



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      Here, the Plaintiff and the process server have engaged in prompt, diligent,

and sustained efforts to serve defendants, and only factors outside of the Plaintiff’s

control have prevented service. The Plaintiff began its efforts to serve defendants

on the same day the Court issued the summons. One defendant was served. (Dkt.

No. 11) The next day, the process server attempted to serve the justices at the

Arkansas Supreme Court - their known work addresses, but was denied access to

the justices’ chambers by the front desk court police. Two days late, the server

successfully served another defendant. (Dkt. No. 10)

      Next the process server specifically called each of the justices’ chambers and

left messages for each to call him in order to arrange a specific time that he would

be able to serve a summons and complaint on each. No telephone calls have been

returned.   (Docket No. 12-18)      Following, the process server unsuccessfully

attempted to serve the defendant – justices by waiting outside the supreme court

building, in hopes to see them entering or exiting the building. Then, the process

server unsuccessfully attempted to serve the defendant- justice Kemp at a home

addresses which the process server found listed on the Internet. The man who

answered the door identified himself as Kemp, but not the supreme court judge.

      All told, the process server diligently made four in-person attempts to serve

the summons and complaint to defendant -justices at two different addresses where

there was reason to believe the defendants may be located. Id.


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After those attempts were unsuccessful, the Plaintiff continued to work with the

process server throughout the 90-day period and provided information to assist

with the investigation to locate defendants.              Moreover, efforts also included

attempts to locate and arrange for service by telephone. (Dkt. No 12-18). Further,

Plaintiff attempted service via USPS certified mail, restricted delivery. Supra 6-7.

       The Plaintiff’s diligent efforts to serve defendants have been thwarted so far

by an apparent evasion of service. All defendants are almost certainly aware of this

lawsuit. The defendant’s administrative rules and procedures implemented and

enforced against Plaintiff - which are in violation of the United States Constitution

- resulted in the filing of this suit, started in 2016.

       In 2015, the presumptive time for serving a defendant was reduced from 120

days to 90 days. Fed. R. Civ. P. 4(m), advisory committee’s note (2015

amendment). The advisory committee noted that “[s]hortening the presumptive

time for service will increase the frequency of occasions to extend the time.” Id. As

is the case here, the plaintiff noted that more time would be appropriate when “a

defendant is difficult to serve.” Id.

       Once filed, this lawsuit was publicized in the national and local news media.

Nevertheless, defendants have failed to respond to the process server’s repeated

and varied attempts to contact. The plaintiff’s prompt and diligent efforts to serve

defendants along with the difficulty in serving them establishes good cause.


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Further, on May 29, 2018, William C. Bird, entered his appearance on behalf of all

defendants this matter.     The defendants-by and through their counsel, filed a

pleading in this matter, thus establishing that defendants were all aware of the

pending lawsuit in which they are named defendants. Although requested, Mr.

Bird has not filed a Waiver of Service on behalf of the defendants.

                                   CONCLUSION

      For the foregoing reasons, the Court should grant the Plaintiff’s motion to

extend time for service of the summons and complaint for an additional sixty (60)

days or until September 28, 2018, in which to serve the summons and complaint on

all defendants and for all other proper and just relief.


                                               Respectfully submitted,



                                               /s/Teresa Bloodman, #2005055
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                               CERTIFICATE OF SERVICE

      I, Teresa Bloodman, pro se, hereby certify that I have electronically filed a
correct copy of the foregoing with the District Court Clerk on this 27th day of July
2018 using the CM/ECF system. Copies will be electronically served using
CM/ECF system notification on participants:

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                                              /s/Teresa Bloodman




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